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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
ARGONAUT INSURANCE COMPANY,               )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )                 Civil No. 17-cv-01825 (APM)
                                          )
LYNCHBURG STEEL & SPECIALTY               )
COMPANY, et al.,                          )
                                          )
      Defendants.                         )
_________________________________________ )

                                             ORDER

       Consistent with the court’s Memorandum Opinion, the court hereby grants Plaintiff’s

Motion for Default Judgment and enters judgment in favor of Plaintiff Argonaut Insurance

Company. Defendants are jointly and severally liable for payment of the following to Argonaut

Insurance Company:

       1.       $82,248.00 for Argonaut’s settlement of the payment bond claim made by Williams

Steel, plus post-judgment interest as applicable under 28 U.S.C. § 1961; and

       2.       $10,446.50 in attorneys’ fees and costs.

       This is a final, appealable order.




Dated: April 5, 2018                                 Amit P. Mehta
                                                     United States District Judge
